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10                              UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
   JOSEPH MALRIAT, Individually and On               Case No.
13 Behalf of All Others Similarly Situated,
                                                     CLASS ACTION COMPLAINT FOR
14
                  Plaintiff,                         VIOLATIONS OF THE FEDERAL
15                                                   SECURITIES LAWS
           v.
16
   QUANTUMSCAPE CORPORATION F/K/A
17 KENSINGTON CAPITAL ACQUISITION                    DEMAND FOR JURY TRIAL
18 CORP., and JAGDEEP SINGH,

19                Defendants.

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 1          Plaintiff Joseph Malriat (“Plaintiff”), individually and on behalf of all others similarly

 2 situated, by and through his attorneys, alleges the following upon information and belief, except as

 3 to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

 4 information and belief is based upon, among other things, his counsel’s investigation, which

 5 includes without limitation: (a) review and analysis of regulatory filings made by QuantumScape

 6 Corporation (“QuantumScape” or the “Company”) f/k/a Kensington Capital Acquisition Corp.

 7 (“Kensington”) with the United States (“U.S.”) Securities and Exchange Commission (“SEC”); (b)

 8 review and analysis of press releases and media reports issued by and disseminated by

 9 QuantumScape; and (c) review of other publicly available information concerning QuantumScape.

10                          NATURE OF THE ACTION AND OVERVIEW

11          1.      This is a class action on behalf of persons and entities that purchased or otherwise
12 acquired QuantumScape securities between December 8, 2020 and December 31, 2020, inclusive

13 (the “Class Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange

14 Act of 1934 (the “Exchange Act”).

15          2.      QuantumScape develops battery technology for electric vehicles and other
16 applications.

17          3.      QuantumScape went public via business combination with Kensington, which closed
18 on November 25, 2020 (the “Merger”), with QuantumScape as the surviving public entity.

19 Kensington was a special purpose acquisition company that was formed for the purpose of effecting

20 a merger, capital stock exchange, asset acquisition, stock purchase, reorganization or similar

21 business combination. Though Kensington was not limited to a particular industry or sector, it

22 focused its search for a target business in the automotive and automotive-related sector.

23          4.      On January 4, 2021, an article was published on Seeking Alpha pointing to several
24 risks with QuantumScape’s solid-state batteries that make it “completely unacceptable for real world

25 field electric vehicles.” Specifically, it stated that the battery’s power means it “will only last for

26 260 cycles or about 75,000 miles of aggressive driving.” As solid-state batteries are temperature

27 sensitive, “the power and cycle tests at 30 and 45 degrees above would have been significantly worse

28 if run even a few degrees lower.”

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 1          5.         On this news, the Company’s stock price fell $34.49, or approximately 40.84%, to

 2 close at $49.96 per share on January 4, 2021, on unusually heavy trading volume.

 3          6.         Throughout the Class Period, Defendants made materially false and/or misleading

 4 statements, as well as failed to disclose material adverse facts about the Company’s business,

 5 operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that the

 6 Company’s purported success related to its solid-state battery power, battery life, and energy density

 7 were significantly overstated; (2) that the Company is unlikely to be able to scale its technology to

 8 the multi-layer cell necessary to power electric vehicles; and (3) that, as a result of the foregoing,

 9 Defendants’ positive statements about the Company’s business, operations, and prospects were

10 materially misleading and/or lacked a reasonable basis.

11          7.         As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

12 in the market value of the Company’s securities, Plaintiff and other Class members have suffered

13 significant losses and damages.

14                                       JURISDICTION AND VENUE

15          8.         The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange Act
16 (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §

17 240.10b-5).

18          9.         This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
19 § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

20          10.        Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section
21 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

22 or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

23 including the dissemination of materially false and/or misleading information, occurred in

24 substantial part in this Judicial District. In addition, the Company’s principal executive offices are

25 in this District.

26          11.        In connection with the acts, transactions, and conduct alleged herein, Defendants
27 directly and indirectly used the means and instrumentalities of interstate commerce, including the

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 1 United States mail, interstate telephone communications, and the facilities of a national securities

 2 exchange.

 3                                               PARTIES

 4          12.     Plaintiff Joseph Malriat, as set forth in the accompanying certification, incorporated

 5 by reference herein, purchased QuantumScape securities during the Class Period, and suffered

 6 damages as a result of the federal securities law violations and false and/or misleading statements

 7 and/or material omissions alleged herein.

 8          13.     Defendant QuantumScape is incorporated under the laws of Delaware with its

 9 principal executive offices located in San Jose, California. QuantumScape’s Class A common stock

10 trades on the New York Stock Exchange (“NYSE”) under the symbol “QS.” Its warrants trade on

11 the NYSE under the symbol “QS.W.”

12          14.     Defendant Jagdeep Singh (“Singh”) founded QuantumScape and was its Chief
13 Executive Officer (“CEO”) at all relevant times. He is sometimes referred to hereinafter as the

14 Individual Defendant. Defendant Singh, because of his positions with the Company, possessed the

15 power and authority to control the contents of the Company’s reports to the SEC, press releases and

16 presentations to securities analysts, money and portfolio managers and institutional investors, i.e.,

17 the market. The Individual Defendant was provided with copies of the Company’s reports and press

18 releases alleged herein to be misleading prior to, or shortly after, their issuance and had the ability

19 and opportunity to prevent their issuance or cause them to be corrected. Because of his positions

20 and access to material non-public information available to them, the Individual Defendant knew that

21 the adverse facts specified herein had not been disclosed to, and were being concealed from, the

22 public, and that the positive representations which were being made were then materially false

23 and/or misleading. The Individual Defendant is liable for the false statements pleaded herein.

24                                  SUBSTANTIVE ALLEGATIONS
25                                              Background
26          15.     QuantumScape develops battery technology for electric vehicles and other
27 applications.

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 1          16.     QuantumScape went public via business combination with Kensington, which closed

 2 on November 25, 2020, with QuantumScape as the surviving public entity. Kensington was a special

 3 purpose acquisition company that was formed for the purpose of effecting a merger, capital stock

 4 exchange, asset acquisition, stock purchase, reorganization or similar business combination. Though

 5 Kensington was not limited to a particular industry or sector, it focused its search for a target

 6 business in the automotive and automotive-related sector.

 7                                   Materially False and Misleading

 8                             Statements Issued During the Class Period

 9          17.     The Class Period begins on December 8, 2020. On that day, QuantumScape

10 announced new performance data for its solid-state battery technology in a press release, stating in

11 relevant part:

12          QuantumScape Corporation (NYSE: QS, or “QuantumScape”), a leader in the
            development of next generation solid-state lithium-metal batteries for use in electric
13          vehicles (EVs), has released performance data demonstrating that its technology
            addresses fundamental issues holding back widespread adoption of high-energy
14          density solid-state batteries, including charge time (current density), cycle life,
            safety, and operating temperature.
15
            A commercially-viable solid-state lithium-metal battery is an advancement that the
16          battery industry has pursued for decades, as it holds the promise of a step function
            increase in energy density over conventional lithium-ion batteries, enabling electric
17          vehicles with a driving range comparable to combustion engine based vehicles.
            QuantumScape’s solid-state battery is designed to enable up to 80% longer range
18          compared to today’s lithium-ion batteries. Previous attempts to create a solid-state
            separator capable of working with lithium metal at high rates of power generally
19          required compromising other aspects of the cell (cycle life, operating temperature,
            safety, cathode loading, or excess lithium in the anode).
20
            QuantumScape’s newly-released results, based on testing of single layer battery
21          cells, show its solid-state separators are capable of working at very high rates of
            power, enabling a 15-minute charge to 80% capacity, faster than either conventional
22          battery or alternative solid-state approaches are capable of delivering. In addition,
            the data shows QuantumScape battery technology is capable of lasting hundreds of
23          thousands of miles and is designed to operate at a wide range of temperatures,
            including results that show operation at -30 degrees Celsius.
24
            The tested cells were large-area single-layer pouch cells in the target commercial
25          form factor with zero excess lithium on the anode and thick cathodes (>3mAh/cm2),
            running at rates of one-hour charge and discharge (1C charge and 1C discharge) at
26          30 degrees Celsius. These tests demonstrated robust performance of these single
            layer pouch cells even at these high rates, resulting in retained capacity of greater
27          than 80% after 800 cycles (demonstrating high columbic efficiency of greater than
            99.97%).
28

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 1                                              *       *       *

 2         “We believe that the performance data we’ve unveiled today shows that solid-state
           batteries have the potential to narrow the gap between electric vehicles and internal
 3         combustion vehicles and help enable EVs to become the world’s dominant form of
           transportation,” said Jagdeep Singh, founder & CEO of QuantumScape.
 4
                                                *       *       *
 5
           Beyond its ability to function at high rates of power while delivering high energy
 6         density, other key characteristics of QuantumScape’s solid-state lithium-metal
           battery technology include:
 7
                    Zero excess lithium: In addition to eliminating the carbon or carbon/silicon
 8                   anode, QuantumScape’s solid-state design further increases energy density
                     because it uses no excess lithium on the anode. Some previous attempts at
 9                   solid-state batteries used a lithium foil or other deposited-lithium anode,
                     which reduces energy density.
10
                    Long life: Because it eliminates the side reaction between the liquid
11                   electrolyte and the carbon in the anode of conventional lithium-ion cells,
                     QuantumScape’s battery technology is designed to last hundreds of
12                   thousands of miles of driving. Alternative solid-state approaches with a
                     lithium metal anode typically have not demonstrated the ability to work
13                   reliably at close to room temperatures (30 degrees Celsius) with zero excess
                     lithium at high current densities (>3mAh/cm2) for more than a few hundred
14                   cycles, and result in a short-circuit or capacity loss before the life target is
                     met. By contrast, today’s test results show that QuantumScape’s battery
15                   technology is capable of running for over 800 cycles with greater than 80%
                     capacity retention.
16
                    Low-temperature operation: QuantumScape’s solid-state separator is
17                   designed to operate at a wide range of temperatures, and it has been tested to
                     -30 degrees Celsius, temperatures that render some other solid-state designs
18                   inoperable.

19                  Safety: QuantumScape’s solid-state separator is noncombustible and isolates
                     the anode from the cathode even at very high temperatures — much higher
20                   than conventional organic separators used in lithium-ion batteries.

21         18.       On December 17, 2020, QuantumScape filed a registration statement for the sale of

22 securities held by insiders. Therein, the Company listed various risk factors regarding product

23 development, including:

24         We face significant barriers in our attempts to produce a solid-state battery cell
           and may not be able to successfully develop our solid-state battery cell. If we cannot
25         successfully overcome those barriers, our business will be negatively impacted and
           could fail.
26
           Producing lithium-metal solid-state batteries that meet the requirements for wide
27         adoption by automotive OEMs is a difficult undertaking. We are still in development
           stage and face significant challenges in completing development of our battery and
28         in producing battery cells in commercial volumes. Some of the development

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 1          challenges that could prevent the introduction of our solid-state battery cell include
            difficulties with increasing the yield of our separators and single-layer cells, multi-
 2          layer cell stacking, packaging engineering to ensure adequate cycle life, cost
            reduction, completion of the rigorous and challenging specifications required by our
 3          automotive partners, including but not limited to, calendar life, mechanical testing,
            and abuse testing and development of the final manufacturing processes. . . . We are
 4          likely to encounter engineering challenges as we increase the dimensions and reduce
            the thickness of its solid-state separators. If we are not able to overcome these barriers
 5          in developing and producing its solid-state separators, our business could fail.

 6          To achieve target energy density, we need to stack our single-layer cells in a multi-
            layer format, which is enclosed within a single battery package. Depending upon our
 7          customer’s requirements, our battery cell may require over one hundred single-layer
            battery cells within each battery package. We have not yet built a multi-layer solid-
 8          state battery cell in the dimensions required for automotive applications. There are
            significant developmental and mechanical challenges that we must overcome to build
 9          our multi-layer battery cell for automotive application. In addition, we will need to
            acquire certain tools that we currently do not possess and develop the manufacturing
10          process necessary to make these multi-layer battery cells in high volume. If we are
            not able to overcome these developmental hurdles in building our multi-layer cells,
11          our business is likely to fail.

12          We are evaluating multiple cathode material compositions for inclusion in our solid-
            state battery cells and have not yet finalized the cathode composition or formulation.
13          We also have not validated that the current cell design, with the inclusion of an
            organic gel made of an organic polymer and organic liquid catholyte as part of the
14          cathode, meets all automotive requirements. We have not yet validated a
            manufacturing process or acquired the tools necessary to produce high volumes of
15          our cathode material that meets all commercial requirements. If we are not able to
            overcome these developmental and manufacturing hurdles our business likely will
16          fail.

17          Even if we complete development and achieve volume production of our solid-state
            battery, if the cost, performance characteristics or other specifications of the battery
18          fall short of our targets, our sales, product pricing and margins would likely be
            adversely affected.
19
            19.       The registration statement also stated that the Company’s battery technology “will
20
     enable significant benefits across battery capacity, life, safety, and fast charging while minimizing
21
     costs.” It identified “five key requirements” that QuantumScape’s battery technology is intended to
22
     meet to enable mass market adoption of electric vehicles:
23
                     Energy density. Our battery design is intended to significantly increase
24                    volumetric and gravimetric energy density by eliminating the carbon/silicon
                      anode host material found in conventional lithium-ion cells. This increased
25                    energy density will enable EV manufacturers to increase range without
                      increasing the size and weight of the battery pack, or to reduce the size and
26                    weight of the battery pack which will reduce the cost of the battery pack and
                      other parts of the vehicle. For example, we estimate that our solid-state
27                    battery cells will enable a car maker to increase the range of a luxury
                      performance EV—with 350 liters of available battery space—from 250 miles
28                    (400 km) to 450 miles (730 km) without increasing the size and weight of the

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 1                    battery pack. In the same example, our battery would enable the car maker to
                      increase the maximum power output of such a vehicle from 420 kW to 650
 2                    kW without increasing the size of the battery pack. Alternatively, we believe
                      that our solid-state battery cells will enable a car maker to increase the range
 3                    of a mass market sedan—with 160 liters of available battery space—from
                      123 miles (200km) to 233 miles (375km) without increasing the size and
 4                    weight of the battery pack. Similarly, our battery would enable the car maker
                      to increase the maximum power output of such vehicle from 100 kW to 150
 5                    kW without increasing the size of the battery pack.

 6                   Battery life. Our technology is expected to enable increased battery life
                      relative to conventional lithium-ion batteries. In a conventional cell, battery
 7                    life is limited by the gradual irreversible loss of lithium due to side reactions
                      between the liquid electrolyte and the anode. By eliminating the anode host
 8                    material, we expect to eliminate the side reaction and enable longer battery
                      life. Our latest single layer prototype cells have been tested to over 800 cycles
 9                    (under stringent test conditions, including 100% depth-of-discharge cycles at
                      one-hour charge and discharge rates at 30 degrees Celsius with commercial-
10                    loading cathodes) while still retaining over 80% of the cells’ discharge
                      capacity.
11
                     Fast charging capability. Our battery technology, and specifically our solid-
12                    state separator material, has been tested to demonstrate the ability to charge
                      to approximately 80% in 15 minutes, faster than commonly used high-energy
13                    EV batteries on the market. In these conventional EV batteries, the limiting
                      factor for charge rate is the rate of diffusion of lithium ions into the anode. If
14                    a conventional battery is charged beyond these limits, lithium can start plating
                      on carbon particles of the anode rather than diffuse into the carbon particles.
15                    This causes a reaction between the plated lithium and liquid electrolyte which
                      reduces cell capacity and increases the risk of dendrites that can short circuit
16                    the cell. With a lithium-metal anode, using our solid-state separator, we
                      expect the lithium can be plated as fast as the cathode can deliver it.
17
                     Increased safety. Our solid-state battery cell uses a ceramic separator which
18                    is not combustible and is therefore safer than conventional polymer
                      separators. This ceramic separator is also capable of withstanding
19                    temperatures considerably higher than those that would melt conventional
                      polymer separators, providing an additional measure of safety. In high
20                    temperature tests of our solid-state separator material with lithium, the
                      separator material remained stable in direct contact with molten lithium
21                    without releasing heat externally, even when heated up to 250 degrees, higher
                      than the 180-degree melting point of lithium.
22
                     Cost. Our battery technology eliminates the anode host material and the
23                    associated manufacturing costs, providing a structural cost advantage
                      compared to traditional lithium-ion batteries. We estimate that eliminating
24                    these costs will provide a savings of approximately 17% compared to the
                      costs of building traditional lithium-ion batteries at leading manufacturers.
25
            20.       On December 31, 2020, the Company filed its prospectus, which made substantially
26
     the same statements identified in ¶¶ 18-19.
27

28

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 1          21.       The above statements identified in ¶¶ 17-20 were materially false and/or misleading,

 2 and failed to disclose material adverse facts about the Company’s business, operations, and

 3 prospects. Specifically, Defendants failed to disclose to investors: (1) that the Company’s purported

 4 success related to its solid-state battery power, battery life, and energy density were significantly

 5 overstated; (2) that the Company is unlikely to be able to scale its technology to the multi-layer cell

 6 necessary to power electric vehicles; and (3) that, as a result of the foregoing, Defendants’ positive

 7 statements about the Company’s business, operations, and prospects were materially misleading

 8 and/or lacked a reasonable basis.

 9                                Disclosures at the End of the Class Period

10          22.       On January 4, 2021, before the market opened, an article was published on Seeking
11 Alpha pointing to several risks with QuantumScape’s solid-state batteries that make it “completely

12 unacceptable for real world field electric vehicles.” Specifically, it stated that the battery’s power

13 means it “will only last for 260 cycles or about 75,000 miles of aggressive driving.” As solid-state

14 batteries are temperature sensitive, “the power and cycle tests at 30 and 45 degrees above would

15 have been significantly worse if run even a few degrees lower.” The article listed the following as

16 the Company’s “Areas of Overstated Success:”

17          All of these areas below are described as successful, because they are much better
            than has been achieved with solid state batteries in the past. But they are completely
18          unacceptable for real world field electric vehicle performance.
19                   Power: They have done 1200 cycles of a 90 second OEM specified track
                      simulation, which pulled pulses of 6C. In this track, 9 laps is full depth of
20                    discharge, when the battery was heated to 45 degrees C (113 degrees F) and
                      charged to 80% in 15 minutes. The cell lost about 10% of its capacity in this
21                    130 cycle test, meaning the battery will only last for 260 cycles or about
                      75,000 miles of aggressive driving. There is a note on the slide that it occurs
22                    at 3.4 atm, which likely means at high pressure. I’ll comment on this later.
23                   Range: In much gentler, 1C / 1C cycling at 30 degrees C, the cell makes it
                      for 800 cycles, or 240,000 miles. Respectable, but not better than the vehicles
24                    on the road today.
25                   Low Temperature Operation: They show discharge curves at 0 to -30
                      degrees Celsius, achieving 90 - 130 Wh/kg. Since their battery has >400
26                    Wh/kg, the range is from 25 - 30% of the battery capacity available in the
                      winter, or about 75-100 miles at full capacity. Also, note that the temperature
27                    capability of solid state batteries is VERY temperature sensitive - thus the
                      power and cycle tests at 30 and 45 degrees above would have been
28                    significantly worse if run even a few degrees lower.

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 1                  Low Temperature Life: They show 100 or so cycles at -10 degrees C.
                     Respectable, except that these cycles are at C/5 charge and C/3 discharge.
 2                   Thus, not 80% in 15 minutes, but rather 5% charge in 15 minutes.
 3                  Energy Density: They talk about being able to get to an energy density of
                     400 Wh/kg, which would be great. However, they clearly have not yet, as all
 4                   their graphs are normalized to 100%, not to an actual capacity. And Amprius
                     is already making cells with 450 Wh/kg, and Tesla claimed on their Battery
 5                   Day that they could achieve 350 Wh/kg. So, while nice, this energy density
                     they hope to achieve in 2028 will not beat today’s state of the art, and will
 6                   not be state of the art when it is achieved.
 7         23.       The report also listed “Significant Challenges” that QuantumScape faces. In
 8 particular, it highlighted that the Company has not yet created the multi-layer cells necessary to

 9 power electric vehicles:

10                  Multi-layer cells: They have been unable to make multi-layer cells. My
                     expectation is that it is because of the unstable interface between the cathode,
11                   which expands as much as 10% on discharge, and the solid state electrolyte,
                     which will not expand at all. They likely do their cycling under high isostatic
12                   pressure (remember the 3.4 atm mentioned earlier?), which will not flow
                     through to inner layers. The inner layers will also be more rigidly constrained,
13                   so suffer more from the interfacial decay with cycling. Needless to say,
                     100,000 of their tiny pouch cells will never make a practical vehicle. It’s
14                   important to mention here that, if your technology works, making a
                     multilayer pouch cell is an easy afternoon’s work.
15
                    Vibration and Dendrites: The electrolyte is very, very stiff. It is well
16                   documented that dendrites will not grow through solid, single crystal garnet
                     electrolytes. However, they grow freely at grain boundaries and defects. In
17                   their pristine, temperature and pressure controlled and vibration-free labs,
                     they can get the cells to cycle. But in a rugged SUV or on our terrible South
18                   Carolina roads, cracks and other defects will become plentiful and dendrites
                     will grow. This will in the best case destroy cycle life, and in the worst cause
19                   the battery to explode.
20                  Lithium Metal Ignition: They tout using lithium metal to increase energy
                     density. But they don’t mention that lithium metal auto-ignites at 179 degrees
21                   Celsius, generating 200 - 300 kJ/mol, or 30 - 40 kJ/g, a massive amount of
                     energy - about three times higher than ethylene carbonate, a common
22                   component of lithium ion electrolytes. Pure lithium is the second most
                     energetic element behind beryllium, and could be used as a component of
23                   rocket fuel (with an oxidant). In essence, they have replaced a burning
                     separator and electrolyte for a much more flammable and energetic burning
24                   anode. There is plenty enough energy in the battery to raise the lithium to its
                     ignition temperature, and if exposed to oxygen or water, it will likely ignite
25                   itself. There is plenty of oxygen available in the cathode materials.
26                  Cost: They claim lower cost, but are actually eliminating only one of the least
                     expensive components - graphite. While this is true, they will have the added
27                   cost of building up their thin ceramic electrolyte and sintering it at high
                     temperatures. My guess is that early on, their yields will be just terrible, if
28                   they can achieve production scale at all.

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 1          24.    On this news, the Company’s stock price fell $34.49, or approximately 40.84%, to

 2 close at $49.96 per share on January 4, 2021, on unusually heavy trading volume.

 3                                 CLASS ACTION ALLEGATIONS

 4          25.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 5 Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

 6 or otherwise acquired QuantumScape securities between December 8, 2020 and December 31, 2020,

 7 inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,

 8 the officers and directors of the Company, at all relevant times, members of their immediate families

 9 and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

10 have or had a controlling interest.

11          26.    The members of the Class are so numerous that joinder of all members is

12 impracticable. Throughout the Class Period, QuantumScape’s shares actively traded on the NYSE.

13 While the exact number of Class members is unknown to Plaintiff at this time and can only be

14 ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

15 thousands of members in the proposed Class. Millions of QuantumScape shares were traded

16 publicly during the Class Period on the NYSE. Record owners and other members of the Class may

17 be identified from records maintained by QuantumScape or its transfer agent and may be notified

18 of the pendency of this action by mail, using the form of notice similar to that customarily used in

19 securities class actions.

20          27.    Plaintiff’s claims are typical of the claims of the members of the Class as all members

21 of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that

22 is complained of herein.

23          28.    Plaintiff will fairly and adequately protect the interests of the members of the Class

24 and has retained counsel competent and experienced in class and securities litigation.

25          29.    Common questions of law and fact exist as to all members of the Class and

26 predominate over any questions solely affecting individual members of the Class. Among the

27 questions of law and fact common to the Class are:

28

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 1                   (a)    whether the federal securities laws were violated by Defendants’ acts as

 2 alleged herein;

 3                   (b)    whether statements made by Defendants to the investing public during the

 4 Class Period omitted and/or misrepresented material facts about the business, operations, and

 5 prospects of QuantumScape; and

 6                   (c)    to what extent the members of the Class have sustained damages and the

 7 proper measure of damages.

 8           30.     A class action is superior to all other available methods for the fair and efficient

 9 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

10 damages suffered by individual Class members may be relatively small, the expense and burden of

11 individual litigation makes it impossible for members of the Class to individually redress the wrongs

12 done to them. There will be no difficulty in the management of this action as a class action.

13                                  UNDISCLOSED ADVERSE FACTS

14           31.     The market for QuantumScape’s securities was open, well-developed and efficient
15 at all relevant times. As a result of these materially false and/or misleading statements, and/or

16 failures to disclose, QuantumScape’s securities traded at artificially inflated prices during the Class

17 Period. Plaintiff and other members of the Class purchased or otherwise acquired QuantumScape’s

18 securities relying upon the integrity of the market price of the Company’s securities and market

19 information relating to QuantumScape, and have been damaged thereby.

20           32.     During the Class Period, Defendants materially misled the investing public, thereby
21 inflating the price of QuantumScape’s securities, by publicly issuing false and/or misleading

22 statements and/or omitting to disclose material facts necessary to make Defendants’ statements, as

23 set forth herein, not false and/or misleading. The statements and omissions were materially false

24 and/or misleading because they failed to disclose material adverse information and/or

25 misrepresented the truth about QuantumScape’s business, operations, and prospects as alleged

26 herein.

27           33.     At all relevant times, the material misrepresentations and omissions particularized in
28 this Complaint directly or proximately caused or were a substantial contributing cause of the

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 1 damages sustained by Plaintiff and other members of the Class. As described herein, during the

 2 Class Period, Defendants made or caused to be made a series of materially false and/or misleading

 3 statements about QuantumScape’s financial well-being and prospects.                 These material

 4 misstatements and/or omissions had the cause and effect of creating in the market an unrealistically

 5 positive assessment of the Company and its financial well-being and prospects, thus causing the

 6 Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

 7 materially false and/or misleading statements during the Class Period resulted in Plaintiff and other

 8 members of the Class purchasing the Company’s securities at artificially inflated prices, thus

 9 causing the damages complained of herein when the truth was revealed.

10                                         LOSS CAUSATION

11          34.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused
12 the economic loss suffered by Plaintiff and the Class.

13          35.    During the Class Period, Plaintiff and the Class purchased QuantumScape’s
14 securities at artificially inflated prices and were damaged thereby. The price of the Company’s

15 securities significantly declined when the misrepresentations made to the market, and/or the

16 information alleged herein to have been concealed from the market, and/or the effects thereof, were

17 revealed, causing investors’ losses.

18                                    SCIENTER ALLEGATIONS
19          36.    As alleged herein, Defendants acted with scienter since Defendants knew that the
20 public documents and statements issued or disseminated in the name of the Company were

21 materially false and/or misleading; knew that such statements or documents would be issued or

22 disseminated to the investing public; and knowingly and substantially participated or acquiesced in

23 the issuance or dissemination of such statements or documents as primary violations of the federal

24 securities laws. As set forth elsewhere herein in detail, the Individual Defendant, by virtue of his

25 receipt of information reflecting the true facts regarding QuantumScape, his control over, and/or

26 receipt and/or modification of QuantumScape’s allegedly materially misleading misstatements

27 and/or his associations with the Company which made him privy to confidential proprietary

28 information concerning QuantumScape, participated in the fraudulent scheme alleged herein.

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 1                       APPLICABILITY OF PRESUMPTION OF RELIANCE

 2                             (FRAUD-ON-THE-MARKET DOCTRINE)

 3          37.    The market for QuantumScape’s securities was open, well-developed and efficient

 4 at all relevant times. As a result of the materially false and/or misleading statements and/or failures

 5 to disclose, QuantumScape’s securities traded at artificially inflated prices during the Class Period.

 6 On December 22, 2020, the Company’s share price closed at a Class Period high of $131.67 per

 7 share. Plaintiff and other members of the Class purchased or otherwise acquired the Company’s

 8 securities relying upon the integrity of the market price of QuantumScape’s securities and market

 9 information relating to QuantumScape, and have been damaged thereby.

10          38.    During the Class Period, the artificial inflation of QuantumScape’s shares was caused

11 by the material misrepresentations and/or omissions particularized in this Complaint causing the

12 damages sustained by Plaintiff and other members of the Class. As described herein, during the

13 Class Period, Defendants made or caused to be made a series of materially false and/or misleading

14 statements about QuantumScape’s business, prospects, and operations.                  These material

15 misstatements and/or omissions created an unrealistically positive assessment of QuantumScape

16 and its business, operations, and prospects, thus causing the price of the Company’s securities to be

17 artificially inflated at all relevant times, and when disclosed, negatively affected the value of the

18 Company shares. Defendants’ materially false and/or misleading statements during the Class Period

19 resulted in Plaintiff and other members of the Class purchasing the Company’s securities at such

20 artificially inflated prices, and each of them has been damaged as a result.

21          39.    At all relevant times, the market for QuantumScape’s securities was an efficient

22 market for the following reasons, among others:

23                 (a)     QuantumScape shares met the requirements for listing, and was listed and

24 actively traded on the NYSE, a highly efficient and automated market;

25                 (b)     As a regulated issuer, QuantumScape filed periodic public reports with the

26 SEC and/or the NYSE;

27                 (c)     QuantumScape regularly communicated with public investors via established

28 market communication mechanisms, including through regular dissemination of press releases on

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 1 the national circuits of major newswire services and through other wide-ranging public disclosures,

 2 such as communications with the financial press and other similar reporting services; and/or

 3                  (d)     QuantumScape was followed by securities analysts employed by brokerage

 4 firms who wrote reports about the Company, and these reports were distributed to the sales force

 5 and certain customers of their respective brokerage firms. Each of these reports was publicly

 6 available and entered the public marketplace.

 7          40.     As a result of the foregoing, the market for QuantumScape’s securities promptly

 8 digested current information regarding QuantumScape from all publicly available sources and

 9 reflected such information in QuantumScape’s share price. Under these circumstances, all

10 purchasers of QuantumScape’s securities during the Class Period suffered similar injury through

11 their purchase of QuantumScape’s securities at artificially inflated prices and a presumption of

12 reliance applies.

13          41.     A Class-wide presumption of reliance is also appropriate in this action under the

14 Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

15 because the Class’s claims are, in large part, grounded on Defendants’ material misstatements and/or

16 omissions.      Because this action involves Defendants’ failure to disclose material adverse

17 information regarding the Company’s business operations and financial prospects—information that

18 Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to recovery.

19 All that is necessary is that the facts withheld be material in the sense that a reasonable investor

20 might have considered them important in making investment decisions. Given the importance of

21 the Class Period material misstatements and omissions set forth above, that requirement is satisfied

22 here.

23                                          NO SAFE HARBOR

24          42.     The statutory safe harbor provided for forward-looking statements under certain
25 circumstances does not apply to any of the allegedly false statements pleaded in this Complaint. The

26 statements alleged to be false and misleading herein all relate to then-existing facts and conditions.

27 In addition, to the extent certain of the statements alleged to be false may be characterized as forward

28 looking, they were not identified as “forward-looking statements” when made and there were no

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 1 meaningful cautionary statements identifying important factors that could cause actual results to

 2 differ materially from those in the purportedly forward-looking statements. In the alternative, to the

 3 extent that the statutory safe harbor is determined to apply to any forward-looking statements

 4 pleaded herein, Defendants are liable for those false forward-looking statements because at the time

 5 each of those forward-looking statements was made, the speaker had actual knowledge that the

 6 forward-looking statement was materially false or misleading, and/or the forward-looking statement

 7 was authorized or approved by an executive officer of QuantumScape who knew that the statement

 8 was false when made.

 9                                            FIRST CLAIM
                           Violation of Section 10(b) of The Exchange Act and
10                                Rule 10b-5 Promulgated Thereunder
                                         Against All Defendants
11

12          43.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

13 set forth herein.

14          44.    During the Class Period, Defendants carried out a plan, scheme and course of conduct

15 which was intended to and, throughout the Class Period, did: (i) deceive the investing public,

16 including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and other

17 members of the Class to purchase QuantumScape’s securities at artificially inflated prices. In

18 furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

19 took the actions set forth herein.

20          45.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made untrue

21 statements of material fact and/or omitted to state material facts necessary to make the statements

22 not misleading; and (iii) engaged in acts, practices, and a course of business which operated as a

23 fraud and deceit upon the purchasers of the Company’s securities in an effort to maintain artificially

24 high market prices for QuantumScape’s securities in violation of Section 10(b) of the Exchange Act

25 and Rule 10b-5. All Defendants are sued either as primary participants in the wrongful and illegal

26 conduct charged herein or as controlling persons as alleged below.

27          46.    Defendants, individually and in concert, directly and indirectly, by the use, means or

28 instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

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 1 continuous course of conduct to conceal adverse material information about QuantumScape’s

 2 financial well-being and prospects, as specified herein.

 3          47.     Defendants employed devices, schemes and artifices to defraud, while in possession

 4 of material adverse non-public information and engaged in acts, practices, and a course of conduct

 5 as alleged herein in an effort to assure investors of QuantumScape’s value and performance and

 6 continued substantial growth, which included the making of, or the participation in the making of,

 7 untrue statements of material facts and/or omitting to state material facts necessary in order to make

 8 the statements made about QuantumScape and its business operations and future prospects in light

 9 of the circumstances under which they were made, not misleading, as set forth more particularly

10 herein, and engaged in transactions, practices and a course of business which operated as a fraud

11 and deceit upon the purchasers of the Company’s securities during the Class Period.

12          48.     The Individual Defendant’s primary liability and controlling person liability arises

13 from the following facts: (i) he was a high-level executive and/or directors at the Company during

14 the Class Period and members of the Company’s management team or had control thereof; (ii) by

15 virtue of his responsibilities and activities as a senior officer and/or director of the Company, he was

16 privy to and participated in the creation, development and reporting of the Company’s internal

17 budgets, plans, projections and/or reports; (iii) the Individual Defendant enjoyed significant

18 personal contact and familiarity with the other defendants and was advised of, and had access to,

19 other members of the Company’s management team, internal reports and other data and information

20 about the Company’s finances, operations, and sales at all relevant times; and (iv) the Individual

21 Defendant was aware of the Company’s dissemination of information to the investing public which

22 they knew and/or recklessly disregarded was materially false and misleading.

23          49.     Defendants had actual knowledge of the misrepresentations and/or omissions of

24 material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

25 ascertain and to disclose such facts, even though such facts were available to them. Such defendants’

26 material misrepresentations and/or omissions were done knowingly or recklessly and for the purpose

27 and effect of concealing QuantumScape’s financial well-being and prospects from the investing

28 public and supporting the artificially inflated price of its securities. As demonstrated by Defendants’

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 1 overstatements and/or misstatements of the Company’s business, operations, financial well-being,

 2 and prospects throughout the Class Period, Defendants, if they did not have actual knowledge of the

 3 misrepresentations and/or omissions alleged, were reckless in failing to obtain such knowledge by

 4 deliberately refraining from taking those steps necessary to discover whether those statements were

 5 false or misleading.

 6          50.     As a result of the dissemination of the materially false and/or misleading information

 7 and/or failure to disclose material facts, as set forth above, the market price of QuantumScape’s

 8 securities was artificially inflated during the Class Period. In ignorance of the fact that market prices

 9 of the Company’s securities were artificially inflated, and relying directly or indirectly on the false

10 and misleading statements made by Defendants, or upon the integrity of the market in which the

11 securities trades, and/or in the absence of material adverse information that was known to or

12 recklessly disregarded by Defendants, but not disclosed in public statements by Defendants during

13 the Class Period, Plaintiff and the other members of the Class acquired QuantumScape’s securities

14 during the Class Period at artificially high prices and were damaged thereby.

15          51.     At the time of said misrepresentations and/or omissions, Plaintiff and other members

16 of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the other

17 members of the Class and the marketplace known the truth regarding the problems that

18 QuantumScape was experiencing, which were not disclosed by Defendants, Plaintiff and other

19 members of the Class would not have purchased or otherwise acquired their QuantumScape

20 securities, or, if they had acquired such securities during the Class Period, they would not have done

21 so at the artificially inflated prices which they paid.

22          52.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

23 and Rule 10b-5 promulgated thereunder.

24          53.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

25 other members of the Class suffered damages in connection with their respective purchases and

26 sales of the Company’s securities during the Class Period.

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 1                                          SECOND CLAIM
                             Violation of Section 20(a) of The Exchange Act
 2                                  Against the Individual Defendant
 3          54.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully
 4 set forth herein.

 5          55.     Individual Defendant acted as a controlling person of QuantumScape within the
 6 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of his high-level positions

 7 and his ownership and contractual rights, participation in, and/or awareness of the Company’s

 8 operations and intimate knowledge of the false financial statements filed by the Company with the

 9 SEC and disseminated to the investing public, the Individual Defendant had the power to influence

10 and control and did influence and control, directly or indirectly, the decision-making of the

11 Company, including the content and dissemination of the various statements which Plaintiff

12 contends are false and misleading. The Individual Defendant was provided with or had unlimited

13 access to copies of the Company’s reports, press releases, public filings, and other statements alleged

14 by Plaintiff to be misleading prior to and/or shortly after these statements were issued and had the

15 ability to prevent the issuance of the statements or cause the statements to be corrected.

16          56.     In particular, the Individual Defendant had direct and supervisory involvement in the
17 day-to-day operations of the Company and, therefore, had the power to control or influence the

18 particular transactions giving rise to the securities violations as alleged herein, and exercised the

19 same.

20          57.     As set forth above, QuantumScape and the Individual Defendant each violated
21 Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of

22 his position as a controlling person, Individual Defendant is liable pursuant to Section 20(a) of the

23 Exchange Act.

24          58.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other
25 members of the Class suffered damages in connection with their purchases of the Company’s

26 securities during the Class Period.

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 1                                      PRAYER FOR RELIEF

 2         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

 3         (a)     Determining that this action is a proper class action under Rule 23 of the Federal

 4 Rules of Civil Procedure;

 5         (b)     Awarding compensatory damages in favor of Plaintiff and the other Class members

 6 against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

 7 wrongdoing, in an amount to be proven at trial, including interest thereon;

 8         (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in this

 9 action, including counsel fees and expert fees; and

10         (d)     Such other and further relief as the Court may deem just and proper.

11                                    JURY TRIAL DEMANDED

12         Plaintiff hereby demands a trial by jury.
13 DATED: January 5, 2021                     GLANCY PRONGAY & MURRAY LLP
                                              By: /s/ Charles H. Linehan
14
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15                                            Charles H. Linehan
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23                                            Attorneys for Plaintiff Joseph Malriat

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                    SWORN CERTIFICATION OF PLAINTIFF


       QUANTUMSCAPE CORPORATION SECURITIES LITIGATION


  I, Joseph Malriat, certify that:

  1.      I have reviewed the Complaint and authorize its filing and/or the filing of a Lead
          Plaintiff motion on my behalf.

  2.      I did not purchase the QuantumScape Corporation securities that are the subject of
          this action at the direction of plaintiff’s counsel or in order to participate in any
          private action arising under this title.

  3.      I am willing to serve as a representative party on behalf of a class and will testify
          at deposition and trial, if necessary.

  4.      My transactions in QuantumScape Corporation securities during the Class Period
          set forth in the Complaint are as follows:

          (See attached transactions)

  5.      I have not sought to serve, nor served, as a representative party on behalf of a
          class under this title during the last three years, except for the following:


  6.      I will not accept any payment for serving as a representative party, except to
          receive my pro rata share of any recovery or as ordered or approved by the court,
          including the award to a representative plaintiff of reasonable costs and expenses
          (including lost wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.



  
________________                         _____________                        _____________
      Date                                           Joseph Malriat
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   Joseph Malriat's Transactions in QuantumScape Corporation (QS)
        Date        Transaction Type      Quantity    Unit Price
      12/9/2020          Bought             100       $74.8000
      12/9/2020          Bought             100       $74.0000
      12/9/2020          Bought             50        $74.0000
     12/22/2020          Bought             250       $107.6500
     12/31/2020           Sold             -500        $85.9350
     12/31/2020          Bought             500       $86.4936
